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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF RHODE ISLAND


In Re: David W. Wagner                                                 Chapter 7
                                                                       No. 18-10071
                 Debtor

______________________________
                                        :
Wesley Holdings Ltd.                    :
                                        :
                 Plaintiff              :
                                        :
                 v.                     :                              A.P. No. 18-
                                        :
       David W. Wagner                  :
                                        :
                 Defendant              :
_______________________________

                                            COMPLAINT

       This complaint is brought for (i) a determination that obligations owed to the Plaintiff by

the Debtor-Defendant are non-dischargeable under Bankruptcy Code (11 U.S.C. §101, et seq.- -

“Code”) section § 523 and (ii) a judgment against the Defendant for the amounts owed to the

Plaintiff and for its attorneys’ fees, costs and expenses incurred in this action.

       Parties

       l.        Plaintiff, Wesley Holdings Ltd. (“Wesley Holdings”), is a limited liability

company organized and existing under the laws of the state of Ohio, with its principal place of

business at 30100 Chagrin Blvd., Suite 301, Pepper Pike, Ohio 44124.

       2.        Defendant, David W. Wagner (“Mr. Wagner”), is the debtor before this Court in

the above-captioned case, having filed a chapter 7 petition for relief with this Court on January

17, 2018.




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       Jurisdiction

       3.      This adversary proceeding is within this Court's jurisdiction pursuant to the

provisions of 28 U.S.C. §§157 and 1334 and the provisions of Local Rule LR Gen 109

(Bankruptcy) of the United States District Court of Rhode Island, and is a core proceeding under

28 U.S.C. § 157 (b)(2)(I).

       Statement of Case

       4.      This non-dischargeability and related action arises out of fraud and a Ponzi

scheme perpetrated by Mr. Wagner and individuals associated with him and with entities he

owned and/or otherwise controlled, or with which he was and/or remains affiliated.

       5.      Wesley Holdings holds a security interest and lien on substantially all assets of 3si

Systems, LLC (“3si”), which includes all of the business assets associated with the operating

room voice command system technology that make up the “3si Hub” (collectively, the

“Collateral”), including without limitation prototype equipment, software, computers and

exclusive distribution rights in the United States relating to any products developed and

commercialized from the 3si Hub. Other 3si Hub assets—specifically certain patents—appear to

be nominally held by 3si Systems’ 83% owned subsidiary, Surgical Safety Solutions, LLC

(“Surgical Safety”).

       6.      Wesley Holdings made a $1.25 million loan to 3si (the “Loan”) based on what are

now known to have been fraudulent written financial statements and other misrepresentations

made and submitted, or caused to be made and submitted, to Wesley Holdings by Mr. Wagner.

       7.      The Loan proceeds from Wesley Holdings were to be used for the development of

3si’s medical technology business. Instead of using the Loan proceeds for their intended

purpose, however, Mr. Wagner almost immediately withdrew most of the Loan proceeds and




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used them to repay prior 3si investors who had sued Mr. Wagner or 3si, or were threatening to

sue Mr. Wagner or 3si.

       8.       Approximately one month after the Loan closed, Mr. Wagner caused 3si and its

assets, including the Collateral, to be transferred to a newly-created Mr. Wagner-controlled

entity, Cliniflow Technologies, LLC (“Cliniflow”), an entity owned directly and/or indirectly by

Mr. Wagner.

       Facts

       9.       3si is a medical technology start-up company owned and/or controlled by Mr.

Wagner. 3si owns, or was represented to own, 83% of the ownership interest in Surgical Safety.

The patents that are part of the 3si Hub appear to be nominally held by Surgical Safety, and 3si

has the exclusive right to license products in the United States generated from those patents

pursuant to a certain Distributor Agreement dated December 23, 2014, as may be amended from

time to time.

       10.      In early 2016, 3si approached Wesley Holdings about making a loan to 3si.

Wesley Holdings requested financial information from 3si.

       11.      In response, Mr. Wagner prepared and provided and/or caused to be prepared and

provided financial statements for 3si’s predecessor, which was Downing Health Technologies

and its Surgical Safety subsidiary.

       12.      During the course of considering whether it would make the Loan, Wesley

Holdings specifically inquired about and asked whether 3si had any other secured debt and

whether 3si was paying or accruing management fees. Wesley Holdings informed 3si that it

would not make a loan if 3si had other secured debt, if Mr. Wagner received management fees

while 3si was not generating a positive cash flow, or if 3si used the proceeds from the loan for




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anything other than developing and commercializing the 3si business.

       13.     In response, Mr. Wagner (directly or indirectly) and 3si made the following

representations, among others, to Wesley Holdings (collectively, the “Representations”): (i) 3si

and Surgical Safety had no secured debt on their balance sheets; (ii) 3si would not pay Mr.

Wagner any management or similar fees until 3si was generating a positive cash flow; and (iii)

the Loan proceeds would be used for developing and commercializing 3si’s business, including

software development, installation of 3si products, and legitimate general operating expenses.

       14.     In reliance on the Representations, Wesley Holdings made the Loan.

       15.     On May 13, 2016, 3si and Wesley Holdings entered into a certain Secured

Promissory Note and Warrant Purchase Agreement (the “Loan Agreement”) that outlined the

terms of the transaction between Wesley Holdings and 3si and had various covenants, including

covenants about the use of the Loan proceeds, management fees, cash flow of 3si and related

matters.

       16.     In connection with the Loan, 3si also executed and delivered to Wesley Holdings

a certain Secured Promissory Note (the “Note”) and Security Agreement (the “Security

Agreement”) pursuant to which 3si granted Wesley Holdings a security interest and lien in the

Collateral to secure the performance of the obligations under the Note.

       17.     3si did not use the Loan funds to develop and commercialize 3si’s business.

Instead, almost immediately upon receiving the Loan funds, and in direct contravention of the

Representations and Loan Agreement covenants, Mr. Wagner withdrew most of the Loan funds

and used them to enrich himself and to pay prior 3si investors who had sued Mr. Wagner or 3si,

or were threatening to sue Mr. Wagner or 3si, so he could continue to perpetuate a Ponzi-like

fraud scheme that he was carrying out.




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        18.     The fraud scheme worked, in essence, as follows: Mr. Wagner and others

recruited employee-investors for 3si based on representations to them that they would be paid

certain salary, commission, bonus, expenses and health benefits in exchange for selling products

developed by 3si. In recruiting them, Mr. Wagner represented that 3si’s products were fully-

developed and ready to sell. As a condition to employment, each employee was required to

invest a minimum of $250,000 in 3si. However, because 3si had no cash flow, 3si could not pay

its employees when it recruited those employees and solicited their investments. Mr. Wagner

used the money from new employee-investors to pay earlier-in employee-investors and stopped

paying new employee-investors their promised salary and benefits shortly after they started

working for 3si. Employees also learned that, contrary to Mr. Wagner’s representations, 3si did

not have commercialized products they could sell to earn commissions. This scheme and the

exposing of it has spawned litigation and arbitration proceedings in at least five states.

        19.     Upon information and belief, Mr. Wagner was also paying himself management

fees while 3si had no legitimate income and no positive cash flow. Mr. Wagner has also been

secretly accruing millions of dollars in purported management fees and has asserted in pending

litigation in the Southern District of New York that such claims constitute secured debt that

would come ahead of Wesley Holding and other creditors. (See Wagner Declarations, Dkt. No.

52, S.D.N.Y. Case No. 17-cv-03362.) This was in violation of the Loan documents and directly

contrary to the Representations made by Mr. Wagner and 3si Systems.

        20.     In addition, on June 24, 2016—only a month after closing the Loan, Mr. Wagner

transferred 3si and its assets, including the Collateral, to CliniFlow in a series of transactions between

Mr. Wagner’s various corporate shell entities. CliniFlow was, and may still be, actively soliciting

new investors based on the value of the Collateral, soliciting new contracts that can only be fulfilled

using the Collateral, and pursuing millions of dollars in public bond debt from the State of


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Connecticut that will fraudulently interpose a layer of lenders’ liens on the Collateral. All of these

fraudulent actions are in violation of the Loan documents and cause harm to Wesley Holdings and its

interest in the Collateral.

        21.      On May 5, 2017, Wesley Holdings initiated litigation against Mr. Wagner and his

related entities in the United States District Court for the Southern District of New York, entitled

Wesley Holdings LTD vs. 3si Systems, LLC et al. (17-cv-03362) (the “District Court Case”). The

District Court Case is still pending.

        22.      On September 5, 2017, the court in the District Court Case appointed a receiver

over all of the assets of 3si, including the Collateral. On May 9, 2018, the District Court is

holding a status conference in the District Court Case with Wesley Holdings, Mr. Wagner, the

receiver and others to discuss, among other things, the receiver’s proposed sale of the Collateral

subject to further motion and court order.


                                            Count I
                 (Non-Dischargeability of Debt Pursuant to Code § 523(a)(2)(A)

        23.      Wesley Holdings restates the allegations contained in paragraphs 1 through 22 of

its Complaint as if fully set forth herein.

        24.      Wesley Holdings is entitled to a determination of non-dischargeability under

Code § 523(a)(2)(A) because its claims arise from and otherwise are a direct result of Mr.

Wagner’s fraud. Mr. Wagner’s actions, failings and conduct described above were purposefully

done with wrongful intent and were fraudulent, including creating false pretenses, making false

representations, and engaging in actual fraud, and thereby causing harm and injury to Wesley

Holdings and its property.

        25.      The acts, failings and conduct of Mr. Wagner, were such as to entitle Wesley

Holdings to a determination that its claims against him are non-dischargeable under Code §


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523(a)(2)(A).

        26.     The Plaintiff fully reserves the right to request that this Court grant and accord res

judicata and collateral estoppel effect, and other applicable issue-preclusive and claim-preclusive

effect in this adversary proceeding to the findings, rulings, conclusions and determinations made

in the District Court Case and in any other judicial, arbitration or other proceedings involving

Mr. Wagner.

                                           Count II
                    (Non-Dischargeability of Debt Pursuant to Code § 523(a)(2)(B)

        27.     Wesley Holdings restates the allegations contained in paragraphs 1 through 26 of

its Complaint as is fully set forth herein.

        28.     Mr. Wagner, in order to entice Wesley Holdings to make the Loan, made and

used materially false and misleading written statements and written information concerning the

financial condition of 3si.

        29.     At the time such written statements were presented to Wesley Holdings, Mr.

Wagner knew the information was materially false.

        30.     Wesley Holdings reasonably relied on such statements and information when

determining whether to make the Loan to 3si.

        31.     Mr. Wagner was aware at the time such statements and information were made

and presented to Wesley Holdings that they were materially false and he authorized such

statements and provided such information, nonetheless to deceive Wesley Holdings into making

the Loan to 3si.

        32.     The actions, failings and conduct of Mr. Wagner were such as to entitle Wesley

Holdings to a determination that its claims against him are non-dischargeable under Code §

523(a)(2)(B).



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       33.       The Plaintiff fully reserves the right to request that this Court grant and accord res

judicata and collateral estoppel effect, and other applicable issue-preclusive and claim-preclusive

effect in this adversary proceeding to the findings, rulings, conclusions and determinations made

in the District Court Case and in any other judicial, arbitration or other proceedings involving

Mr. Wagner.


                                            Count III
                   (Non-Dischargeability of Debt Pursuant to Code § 523(a)(6)

       34.       Wesley Holdings restates the allegations contained in paragraphs 1 through 33 of

its Complaint.

       35.       Mr. Wagner’s actions, failings and conduct as to Wesley Holdings were deliberate

and intentional, and were intended to, or substantially likely to, cause injury to Wesley Holdings

and to its property.

       36.       Mr. Wagner, by his actions, failings and conduct, willfully and maliciously

caused injury to Wesley Holdings and to its property, and Wesley Holdings and its property have

suffered injuries as a result of Mr. Wagner’s actions, failings, and conduct.

       37.       The actions, failings and conduct of Mr. Wagner are such as to entitle Wesley

Holdings to a determination that its claims against him are non-dischargeable under Code §

523(a)(6).

       38.       The Plaintiff fully reserves the right to request that this Court grant and accord res

judicata and collateral estoppel effect, and other applicable issue-preclusive and claim-preclusive

effect in this adversary proceeding to the findings, rulings, conclusions and determinations made

in the District Court Case and in any other judicial, arbitration or other proceedings involving

Mr. Wagner.




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                                           Count IV
                      (Non-Dischargeability of Debt Pursuant to Code § 523(a)(4)

        39.      Wesley Holdings restates the allegations contained in paragraphs 1 through 38 of

its Complaint.

        40.      Mr. Wagner owed a fiduciary duty to Wesley Holdings that included the exercise

of utmost care, loyalty and good faith including as to the Collateral.

        41.      At all times, Mr. Wagner had complete control over and ownership of 3si and the

Collateral, and therefore, was acting as a fiduciary with respect to Wesley Holdings as a creditor

of 3si and in respect to the Collateral and Wesley Holdings’ interests therein.

        42.      Mr. Wagner breached those duties owed to Wesley Holdings by, inter alia,

wrongfully transferring and diverting the Collateral and by diverting 3si’s cash and other assets

wrongfully and for improper purposes.

        43.      The actions, failings and conduct of Mr. Wagner are such as to entitle Wesley

Holdings to a determination that its claims against him are non-dischargeable under Code §

523(a)(4).

        44.      The Plaintiff fully reserves the right to request that this Court grant and accord res

judicata and collateral estoppel effect, and other applicable issue-preclusive and claim-preclusive

effect in this adversary proceeding to the findings, rulings, conclusions and determinations made

in the District Court Case and in any other judicial, arbitration or other proceedings involving

Mr. Wagner.

                                            Count V
                                    Judgment for Amount Owed

        45.      Wesley Holdings restates the allegations contained in paragraphs 1 through 44 of

its Complaint as is fully set forth herein.




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       46.     Wesley Holdings request that this Court make a determination of the amounts

owed to it by Mr. Wagner.

       47.     The Plaintiff fully reserves the right to request that this Court grant and accord res

judicata and collateral estoppel effect, and other applicable issue-preclusive and claim-preclusive

effect in this adversary proceeding to the findings, rulings, conclusions and determinations made

in the District Court Case and in any other judicial, arbitration or other proceedings involving

Mr. Wagner.



       WHEREFORE, Wesley Holdings prays that the Court determine, declare and enter

judgment for Wesley Holdings under Code §523 as follows:

       A.      Declare that Wesley Holdings’ claims against Mr. Wagner as set forth herein are

non-dischargeable under Code §523(a)(6) and (a)(4);

       B.      Declare that Wesley Holdings’ claims against Mr. Wagner as outlined herein are

non-dischargeable under Code §523(a)(2)(A) and (B);

       C.       Make a determination of the amounts owed to Wesley Holdings by Mr. Wagner;

       D.       Declare that Mr. Wagner should pay Wesley Holdings’ costs and attorneys’ fees

incurred in this adversary proceeding; and

       E.       Grant such other and further relief as the Court deems just.




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                                                  Wesley Holdings Ltd

                                                  By its Attorneys,

April 22, 2018                                    /s/ Matthew J. McGowan and Elizabeth A. Lonardo
                                                  Matthew J. McGowan, Esquire (Bar No. 2770)
                                                  Elizabeth A. Lonardo, Esquire (Bar No. #7714)
                                                  Salter McGowan Sylvia & Leonard, Inc.
                                                  321 South Main Street, Suite 301
                                                  Providence, RI 02903
                                                  401.274.0300
                                                  mmcgowan@smsllaw.com
                                                  elonardo@smsllaw.com




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